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UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTRICT OF NEW YORK

GOVERNMENT OF THE UNITED

 

STATES VIRGIN ISLANDS
Plaintiff,
V. Case Number: 1:22-cv-10904-JSR
JPMORGAN CHASE BANK, N.A.
ORDER AUTHORIZING
Defendant/Third-Party Plaintiff. ALTERNATIVE SERVICE OF
SUBPOENA TO THIRD PARTY
ELON MUSK

JPMORGAN CHASE BANK, N.A.
Third-Party Plaintiff,
V.

JAMES EDWARD STALEY

 

Third-Party Defendant.

Nee Nae Nee Ne Ne Nome Ne ene ee ne ee ee Nee ee” ee ee ey ee ee ee”

 

The Motion of Plaintiff, Government of the United States Virgin Islands, for an Order

authorizing the Government to arrange alternative service of its Subpoena to Produce Documents

 

upon third party Elon Musk in the above-captioned action is granted.
IT IS HEREBY ORDERED that the Government is authorized to arrange alternative
service of its Subpoena to Produce Documents by serving Elon Musk via service upon Tesla, Inc.’s

registered agent.

New York, NY

May _["{_, 2023 C)) 3 WZA

JED & RAKOFF, U.S. Ba

 
